Case 2:22-cv-07181-JFW-PLA Document 27 Filed 03/03/23 Page 1 of 2 Page ID #:511



    1

    2

    3

    4

    5

    6

    7

    8
                                                                     JS-6
    9

   10

   11

   12

   13

   14                       UNITED STATES DISTRICT COURT
   15                     CENTRAL DISTRICT OF CALIFORNIA
   16   SBD INVESTMENT 7, LLC., a                 Case No.: 2:22-cv-07181-JFW-PLAx
        California limited liability company;
   17
                                                  ORDER GRANTING JOINT
   18               Plaintiff,                    MOTION TO DISMISS
                                                  PLAINTIFF’S COMPLAINT
   19   v.                                        WITHOUT PREJUDICE
   20   KINSALE INSURANCE COMPANY, Hon. John F. Walter
                                 xxxxxxxxxxx
        an Arkansas corporation; and DOES 1 to United States District Judge
   21   50, inclusive;
         xxxxxxxxx
   22
                    Defendant.                    Complaint Filed: October 3, 2022
   23

   24

   25         Having considered Plaintiff SBD INVESTMENT 7, LLC (“Plaintiff”) and
   26   Defendant KINSALE INSURANCE COMPANY’S (“Defendant”) Joint Motion
   27   for Dismissal pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil
   28   Procedure, this Court hereby rules as follows:
                                              1
        ORDER GRANTING JOINT MOTION TO DISMISS
        PLAINTIFF’S COMPLAINT WITHOUT PREJUDICE                Case No.: 2:22-cv-07181-JFW-PLA
Case 2:22-cv-07181-JFW-PLA Document 27 Filed 03/03/23 Page 2 of 2 Page ID #:512



    1         Plaintiff’s Complaint is hereby dismissed in its entirety without prejudice,
    2   the parties to bear their own costs and attorneys’ fees.
    3         SO ORDERED.
    4

    5
                March 3, 2023
        Dated: _________________                _______________________________
    6
                                                HON. JOHN F. WALTER
    7                                           UNITED STATES DISTRICT JUDGE
    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                              2
        ORDER GRANTING JOINT MOTION TO DISMISS
        PLAINTIFF’S COMPLAINT WITHOUT PREJUDICE                    Case No.: 2:22-cv-07181-JFW-PLA
